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        ATTACHMENT 14
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                                                                         6                       IN THE UNITED STATES DISTRICT COURT
                                                                         7                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                         8
                                                                               IN RE: CATHODE RAY TUBE (CRT)              )   MDL No. 1917
                                                                         9     ANTITRUST LITIGATION                       )
                                                                                                                          )   Case No. C-07-5944-SC
                                                                         10                                               )
United States District Court
                               For the Northern District of California




                                                                                                                          )   ORDER ADOPTING SPECIAL
                                                                         11    This Order Relates To:                     )   MASTER'S REPORT AND
                                                                                                                          )   RECOMMENDATION REGARDING
                                                                         12        Case No. C-11-6397 SC                  )   TOSHIBA DEFENDANTS' MOTION
                                                                                                                          )   TO COMPEL ARBITRATION
                                                                         13        COSTCO WHOLESALE CORP.,                )
                                                                                                                          )
                                                                         14                           Plaintiff           )
                                                                                                                          )
                                                                         15             v.                                )
                                                                                                                          )
                                                                         16        HITACHI LTD., et al,                   )
                                                                                                                          )
                                                                         17                           Defendants.         )
                                                                                                                          )
                                                                         18                                               )
                                                                         19
                                                                         20   I.    INTRODUCTION
                                                                         21         Now before the Court is the motion of Defendants Toshiba
                                                                         22   Corporation, Toshiba America, Inc., Toshiba America Information
                                                                         23   Systems, Inc., Toshiba America Consumer Products, LLC ("TACP"), and
                                                                         24   Toshiba America Electronic Components, Inc. (the "Toshiba
                                                                         25   Defendants") to adopt the Special Master's Report and
                                                                         26   Recommendation regarding the Toshiba Defendants' motion to compel
                                                                         27   arbitration against Costco Wholesale Corporation ("Plaintiff").
                                                                         28   ECF No. 1433 ("R&R").      The matter is fully briefed and appropriate
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                                                                         1    for resolution without oral argument per Civil Local Rule 7-1(b).
                                                                         2    For the reasons explained below, the Court ADOPTS the R&R in its
                                                                         3    entirety and GRANTS the Toshiba Defendants' motion to compel
                                                                         4    arbitration in part.1
                                                                         5
                                                                         6    II.   BACKGROUND
                                                                         7          This matter is related to the Cathode Ray Tube ("CRT")
                                                                         8    Antitrust Multi-District Litigation ("MDL"), which involves
                                                                         9    allegations of a worldwide antitrust conspiracy to fix prices on
                                                                         10   cathode ray tubes and related products.          Plaintiff had been a
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                                                                         11   member of the MDL direct plaintiffs' class action, but it opted out
                                                                         12   to pursue its own antitrust action in the Western District of
                                                                         13   Washington.    No. 11-cv-06397-SC, ECF No. 1 ("Compl."); R&R ¶ 6.
                                                                         14   The Judicial Panel on Multidistrict Litigation transferred that
                                                                         15   case to this Court on December 6, 2011.          No. 11-cv-06397-SC, ECF
                                                                         16   No. 4 ("Conditional Transfer Order").         Plaintiff's complaint
                                                                         17   alleges that the Toshiba Defendants, along with the other
                                                                         18   defendants named in the case, "formed an international cartel that
                                                                         19   conducted a conspiracy . . . for the purpose and to the effect of
                                                                         20   raising or maintaining prices and reducing capacity and output for
                                                                         21   cathode ray tubes."     Compl. ¶ 1.     Plaintiff's complaint includes
                                                                         22   claims under federal and state antitrust laws.           Id. ¶¶ 174-201.
                                                                         23         Underlying the present matter is an arbitration clause in the
                                                                         24   so-called Vendor Agreement between Plaintiff and TACP, a member of
                                                                         25   the Toshiba corporate family.        ECF No. 1462 ("Lau Decl.") Ex. 2.
                                                                         26   1
                                                                                Because the Court decides this motion without considering
                                                                         27   Plaintiff's request for further briefing, Plaintiff's motion for
                                                                              leave to file a reply in support of its objection to the Special
                                                                         28   Master's R&R, ECF 1475, is DENIED.



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                                                                         1    The Vendor Agreement with TACP incorporates by reference
                                                                         2    Plaintiff's "Standard Terms," which include the following provision
                                                                         3    on arbitration:
                                                                         4               All claims and disputes that (1) are between
                                                                                         Vendor and PriceCostco2 and (2) arise out of or
                                                                         5               relate to these Standard Terms or any agreement
                                                                                         between Vendor and PriceCostco or to their
                                                                         6               performance or breach (including any text or
                                                                                         statutory claim) . . . shall be arbitrated under
                                                                         7               the Commercial Arbitration Rules of the American
                                                                                         Arbitration Association ("AAA") in English at
                                                                         8               Seattle, Washington . . . Notwithstanding the
                                                                                         above, PriceCostco or Vendor may bring court
                                                                         9               proceedings or claims against each other (i)
                                                                                         solely as part of separate litigation commenced
                                                                         10              by an unrelated third party . . . .
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                                                                         11   Lau Decl. Ex. 2 ¶ 20.
                                                                         12        The Toshiba Defendants, relying on this clause, moved to
                                                                         13   compel arbitration against Plaintiff on August 24, 2012.               ECF No.
                                                                         14   1332 ("Mot. to Compel").      The Special Master heard their arguments
                                                                         15   on October 30, 2012 and recommended that the motion to compel
                                                                         16   arbitration be granted, except with regard to Plaintiff's claims
                                                                         17   against the Toshiba Defendants for co-conspirator or joint and
                                                                         18   several liability based on Plaintiff's purchase of products from
                                                                         19   defendants other than the Toshiba Defendants.           R&R ¶ 1.
                                                                         20        The Toshiba Defendants now ask the Court to adopt the R&R in
                                                                         21   part, requesting that the Court render all of Plaintiff's claims
                                                                         22   subject to arbitration, not just those separate from allegations of
                                                                         23   co-conspirator or joint and several liability.           ECF No. 1461 ("Mot.
                                                                         24   to Adopt R&R").     Plaintiff objects to the R&R for reasons described
                                                                         25   below and asks the Court to reject it and deny the Toshiba
                                                                         26   Defendants' motion.     ECF No. 1457 ("Obj'n to R&R").
                                                                         27
                                                                              2
                                                                         28     The Standard Terms use "PriceCostco" to refer to Costco here.
                                                                              Lau Decl. Ex. 2 at C.


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                                                                         1    III. LEGAL STANDARDS
                                                                         2               A.    Standard of Review for the R&R
                                                                         3         The Court reviews the Special Master's factual findings for
                                                                         4    clear error, his legal conclusions de novo, and his procedural
                                                                         5    decisions for abuse of discretion.         Fed. R. Civ. P. 53(f)(3)-(4);
                                                                         6    ECF No. 302 ("Order Appointing Special Master") ¶ 18 (parties
                                                                         7    stipulated to "clear error" standard for factual findings).
                                                                         8               B.    Motions to Compel Arbitration
                                                                         9         Section 4 of the Federal Arbitration Act ("FAA") permits "a
                                                                         10   party aggrieved by the alleged failure, neglect, or refusal of
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                                                                         11   another to arbitrate under a written agreement for arbitration [to]
                                                                         12   petition any United States district court . . . for any order
                                                                         13   directing that . . . arbitration proceed in the manner provided for
                                                                         14   in [the arbitration] agreement."        9 U.S.C. § 4.     The FAA embodies a
                                                                         15   policy that generally favors arbitration agreements.             Moses H. Cone
                                                                         16   Mem'l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24-25 (1983).
                                                                         17   Importantly, however, "[A]rbitration is a matter of contract and a
                                                                         18   party cannot be required to submit to arbitration any dispute which
                                                                         19   he has not agreed so to submit."        United Steelworkers v. Warrior &
                                                                         20   Gulf Navigation Co., 363 U.S. 374, 382 (1960).           If such an
                                                                         21   arbitration agreement is present, though, federal courts must
                                                                         22   enforce it rigorously.      See Hall Street Assoc., L.L.C. v. Mattel,
                                                                         23   Inc., 552 U.S. 576, 581 (2008).        Courts must also resolve any
                                                                         24   "ambiguities as to the scope of the arbitration clause itself . . .
                                                                         25   in favor of arbitration."       Volt Info. Scis., Inc. v. Bd. of Trs. of
                                                                         26   Leland Stanford Jr. Univ., 489 U.S. 468, 476 (1989).             These
                                                                         27   policies all "appl[y] with special force in the field of
                                                                         28   international commerce."      Mitsubishi Motors Corp. v. Soler



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                                                                         1    Chrysler-Plymouth, Inc., 473 U.S. 614, 631 (1985).
                                                                         2
                                                                         3    IV.   DISCUSSION
                                                                         4            The Court considers both Plaintiff's and the Toshiba
                                                                         5    Defendants' arguments in turn below.
                                                                         6               A.      The Toshiba Defendants' Objections
                                                                         7          The Toshiba Defendants object to the Special Master's
                                                                         8    recommendation that Plaintiff's claims that are "based strictly" on
                                                                         9    co-conspirator or joint and several liability be allowed to proceed
                                                                         10   at litigation, while all other claims against the Toshiba
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                                                                         11   Defendants be referred to arbitration.         Mot. to Partly Adopt R&R at
                                                                         12   4-5 (citing R&R ¶¶ 4, 7).       Their argument is essentially that there
                                                                         13   is no way for Plaintiff to have claims against the Toshiba
                                                                         14   Defendants "based strictly" on co-conspirator or joint and several
                                                                         15   liability, because such a situation could arise only if the Toshiba
                                                                         16   Defendants had no sales whatsoever to Plaintiff, but were sued
                                                                         17   solely for being co-conspirators.          Id. at 4-5.   This argument is
                                                                         18   unavailing.     There is no basis for compelling arbitration for
                                                                         19   Plaintiff's claims based on the Toshiba Defendants' alleged
                                                                         20   dealings with other defendants, even if the Toshiba Defendants as a
                                                                         21   corporate family may compel arbitration based on the Vendor
                                                                         22   Agreement with TACP.      Plaintiff did not agree to arbitrate those
                                                                         23   claims not related to its direct or indirect purchases from the
                                                                         24   Toshiba Defendants.      See United Steelworkers, 363 U.S. at 382.
                                                                         25   The Special Master was correct in refusing to render those claims
                                                                         26   subject to arbitration under the Vendor Agreement.
                                                                         27   ///
                                                                         28   ///



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                                                                         1                 B.   Plaintiff's Objections
                                                                         2                        1. Whether Plaintiff's Claims Are Excluded from
                                                                         3                           the Arbitration Clause
                                                                         4            Plaintiff argues that its claims are excluded from the
                                                                         5    arbitration clause because the clause allows it to "bring court
                                                                         6    proceedings or claims against [vendors] . . . as part of separate
                                                                         7    litigation commenced by an unrelated third party."            Obj'n to R&R at
                                                                         8    5.    Plaintiff argues that its claim "commenced" for purposes of
                                                                         9    this part of the arbitration clause when the direct purchaser class
                                                                         10   representatives filed their claims and sought to represent
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                                                                         11   Plaintiff's interests.      Id.   Plaintiff claims that this fact allows
                                                                         12   it to bring its claims against the Toshiba Defendants, since the
                                                                         13   class action remains "part of" the MDL, to which Plaintiff's
                                                                         14   separate case is now related.        Id.
                                                                         15           Plaintiffs raised a similar argument in another MDL pending
                                                                         16   before this Court.     See In re TFT-LCD (Flat Panel) Antitrust
                                                                         17   Litig., No. M 07-1827 SI, 2011 WL 4017961, at *4 (N.D. Cal. Sept.
                                                                         18   9, 2011).     The Court rejected the argument, finding that it did not
                                                                         19   comport with the language of a similarly worded arbitration clause.
                                                                         20   Id.     The Court reasoned that Plaintiff's lawsuit ceased to be "part
                                                                         21   of separate litigation" per this part of the arbitration clause
                                                                         22   after it opted out of the class action -- its decision to do so
                                                                         23   initiated an entirely new proceeding, even if the original class
                                                                         24   action was "commenced by" the third-party class action plaintiffs.
                                                                         25   In re TFT-LCD, 2011 WL 4017961, at *4.         The same reasoning applies
                                                                         26   here.    Accordingly, the Special Master was correct to state that
                                                                         27   this portion of the arbitration clause does not apply here and does
                                                                         28   not exclude Plaintiff's claims arbitration.           R&R ¶ 6.



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                                                                         1                        2. Whether the Toshiba Defendants, Collectively,
                                                                         2                           Can Compel Arbitration
                                                                         3            The Special Master further found that Plaintiff is required to
                                                                         4    arbitrate with all of the Toshiba Defendants because, as Plaintiff
                                                                         5    pled, they are all agents for one another, and so the arbitration
                                                                         6    clause is binding on the corporate affiliates and successors of
                                                                         7    TACP.    R&R ¶ 5 (citing In re TFT-LCD, 2011 WL 4017961, at *7).
                                                                         8    Plaintiff argues that this decision was in error because the
                                                                         9    Toshiba Defendants, who with the exception of TACP are non-
                                                                         10   signatories to the arbitration agreement, cannot show that
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                                                                         11   Plaintiff, a signatory, submitted to arbitration with all of the
                                                                         12   Toshiba Defendants.     Obj'n to R&R at 7.       Plaintiff's argument here
                                                                         13   is that the Special Master made a legal error in finding that the
                                                                         14   Toshiba Defendants could compel arbitration because Plaintiff
                                                                         15   alleged that they were all agents of each other, therefore making
                                                                         16   arbitrable claims against one agent arbitrable as to the others.
                                                                         17   Id. (citing R&R ¶ 5).      Plaintiff states that its own allegations
                                                                         18   are insufficient to establish an agency relationship and that the
                                                                         19   Toshiba Defendants must prove agency themselves.            The Toshiba
                                                                         20   Defendants argue that because they are agents of each other, as
                                                                         21   Plaintiff itself pleaded, they are entitled to compel arbitration
                                                                         22   under the agreement Plaintiff signed with TACP.
                                                                         23           Plaintiff relies mainly on Britton v. Co-op Banking Grp., 916
                                                                         24   F.2d 1405, 1413-14 (9th Cir. 1990), and its disposition after
                                                                         25   remand and subsequent appeal, Britton v. Co-op Banking Grp., 4 F.3d
                                                                         26   742, 747 (9th Cir. 1993).       In Britton, the Ninth Circuit remanded
                                                                         27   to the district court to determine whether arbitration was required
                                                                         28   based on whether the parties meant for the defendant, a non-



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                                                                         1    signatory to the agreement in question, to have the benefits of the
                                                                         2    arbitration provision.      916 F.2d at 1414.      After remand and another
                                                                         3    appeal, the Ninth Circuit held that the defendant was not entitled
                                                                         4    to compel arbitration under the agreement in question because the
                                                                         5    plaintiffs' claims against him did not "relate to or arise out of"
                                                                         6    that contract.    4 F.3d at 747.      In the instant matter, Plaintiff's
                                                                         7    claims against the Toshiba Defendants -- to the extent that they
                                                                         8    are not based on the Toshiba Defendants' co-conspirator or joint
                                                                         9    and several liability based on Plaintiff's purchases from other
                                                                         10   defendants -- obviously do relate to or arise out of the Vendor
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                                                                         11   Agreement, since that agreement governed Plaintiff's purchases from
                                                                         12   the Toshiba Defendants.      Further, the Ninth Circuit's analysis of
                                                                         13   the Britton defendant's agency hinged on the plaintiff's own
                                                                         14   allegations that the defendant was an agent of the company the
                                                                         15   plaintiff had sued.     See 4 F.3d at 747.       Likewise, in the instant
                                                                         16   action, Plaintiffs have pled that the Toshiba Defendants are all
                                                                         17   agents for each other.
                                                                         18        The Court concludes that permitting the non-signatory Toshiba
                                                                         19   Defendants to compel arbitration is in line with Ninth Circuit law
                                                                         20   and other rulings from this Court: non-signatories can enforce
                                                                         21   arbitration clauses where there is a "close relationship between
                                                                         22   the entities involved, as well as the relationship of the alleged
                                                                         23   wrongs to the non-signatory's obligations and duties in the
                                                                         24   contract and . . . the claims [are] intertwined with the underlying
                                                                         25   contractual obligations."       Mundi v. Union Sec. Life Ins. Co., 555
                                                                         26   F.3d 1042, 1046 (9th Cir. 2009); see also In re TFT-LCD, 2011 WL
                                                                         27   4017961, at *6;     Amisil Holdings Ltd. v. Clarium Capital Mgmt., 622
                                                                         28   F. Supp. 2d 825, 832 (N.D. Cal. 2007) (non-signatories to an



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                                                                         1    agreement containing an arbitration clause could compel signatories
                                                                         2    to arbitrate when claims against agents relate to their behavior or
                                                                         3    capacities as agents and arise out of or relate to the contract in
                                                                         4    question); Fujian Pacific Elec. Co. Ltd. v. Bechtel Power Corp.,
                                                                         5    2004 WL 2645974, at *6 (N.D. Cal., Nov. 19, 2004) (same).
                                                                         6         Thus, Plaintiff must arbitrate its claims against the Toshiba
                                                                         7    Defendants whose affiliates -- in this case, TACP -- have
                                                                         8    arbitration agreements with Plaintiff.          Plaintiff's claims against
                                                                         9    the Toshiba Defendants, per its own complaint, see Compl. ¶¶ 44-49,
                                                                         10   130-31, relate to their interrelated behavior and capacities as
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                                                                         11   agents.    Without the Vendor Agreement with TACP, Costco would have
                                                                         12   no claim based on its purchases from the Toshiba Defendants.            The
                                                                         13   Court accordingly finds that the Special Master's holding on this
                                                                         14   point is correct and not in error.3
                                                                         15                        3. Whether the Court Must Declare Waivers of
                                                                         16                           Treble Damages Unenforceable
                                                                         17        Defendants argue that, regardless of its other conclusions,
                                                                         18   the Court may compel arbitration only if it first declares any
                                                                         19   purported waiver of treble damages unenforceable in the antitrust
                                                                         20   context.    Obj'n to R&R at 10.      However, the arbitration agreement
                                                                         21   does not state or imply that Plaintiff has waived treble damages.
                                                                         22   Nor do the Toshiba Defendants claim that it does, though they state
                                                                         23   that they will argue before the arbitrator that treble damages
                                                                         24   should not be awarded.       Mot. to Adopt R&R at 4.       Further, these
                                                                         25   arguments are premature.       If the parties disagree with the arbitral
                                                                         26   decision on damages, they may move to set aside that award.
                                                                         27   3
                                                                                Since analysis of the agency basis for compelling arbitration
                                                                         28   under Ninth Circuit law is sufficient, the Court need not consider
                                                                              whether equitable estoppel might also serve.


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                                                                         1    V.   CONCLUSION
                                                                         2         The Court overrules the parties' objections to the R&R and
                                                                         3    finds the R&R correct, thorough, and well-reasoned.             Accordingly,
                                                                         4    the Court ADOPTS the Special Master's Report and Recommendation and
                                                                         5    GRANTS the Toshiba Defendants' motion to compel arbitration in
                                                                         6    part, with the exception of Plaintiff's claims for co-conspirator
                                                                         7    or joint and several liability based on Plaintiff Costco's purchase
                                                                         8    of products from defendants other than the Toshiba Defendants.
                                                                         9
                                                                         10        IT IS SO ORDERED.
                               For the Northern District of California
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                                                                         11
                                                                         12        Dated:    January 28
                                                                                                     __, 2013
                                                                                                                      UNITED STATES DISTRICT JUDGE
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